Case 2:10-cr-00092-RBS-TEM Document1 Filed 05/21/10 Pagp—Loat2 PagelD# 1

 

FILED

IN OPEN COURT

 

 

 

 

 

 

MAY 21 2010
IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA CLERK. U.S. DISTRICT COURT
Norfolk Division NCEFOLK. VA
UNITED STATES OF AMERICA CRIMINAL NO. 2:10cr 92
v. 18 U.S.C. § 111(a)(1)
Assaulting, resisting and impeding officers
ANDREW MARVIN WARREN, (Count 1)
Defendant. 18 U.S.C. § 924(c){1)(A)

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) Possession of firearm during and in
} relation to a crime of violence

) (Count 2)

)

) 18 U.S.C. § 922(g)(3)

) Possession of firearm by unlawful
} user of controlled substance

) (Count 3)

)

)

)

18 U.S.C. § 924(d)
Forfeiture Allegation

INDICTMENT
May Term - At Norfolk, Virginia
THE GRAND JURY CHARGES THAT:
Count One

On or about April 26, 2010, in Norfolk, Virginia, within the Eastern District of Virginia,
defendant ANDREW MARVIN WARREN knowingly did forcibly assault, resist, oppose,
impede, intimidate, and interfere with GS, a Deputy United States Marshal, and SB, JC, GS and
JS, Special Agents with the Department of State Diplomatic Security Service, and engage in acts

involving physical contact, while GS, SB, JC, GS and JS were engaged in, and on account of the

performance of, their official duties.

(In violation of Title 18, United States Code, Section 111(a)(1).)
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Count Two

On or about April 26, 2010, in Norfolk, Virginia, within the Eastern District of Virginia,

defendant ANDREW MARVIN WARREN did knowingly possess a Glock Model 19, 9mm
‘ semi-automatic pistol in furtherance of a crime of violence for which he may be prosecuted in a

court of the United States, that is, to forcibly assault, resist, oppose, impede, intimidate, and
interfere with federal law enforcement officers engaged in the official duties, in violation of Title
21, United States Code, Section 111(a)(1), as charged in Count One of this Indictment.

(In violation of Title 18, United States Code, Section 924(c)(1)(A).)

Count Three

On or about April 26, 2010, in Norfolk, Virginia, within the Eastern District of Virginia,
defendant ANDREW MARVIN WARREN, then being an unlawful user of a controlled
substance as defined in Title 21, United States Code, Section 802, did knowingly possess in and
affecting interstate and foreign commerce, a firearm, to wit: a Glock Model 19, 9mm semi-
automatic pistol, said firearm having been shipped and transported in interstate and foreign
commerce,

(In violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).)

Forfeiture Allegation

Under Rule 32.2(a) of the Fed. R. Crim. P., defendant ANDREW MARVIN WARREN,
if convicted of Counts Two or Three charged in this Indictment, shall forfeit his interest in any
firearm or ammunition involved in or used in a willful violation of 18 U.S.C. §§ 922(g)(3) or
924(c)(1).

(In violation of Title 18 United States Code, Section 924(d).)
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the original of this page has been filed

United States v. Andrew Marvin Warren Uunder seal in tha Clerk's Office.
Criminal No. 2:10cr GA
A TRUE BILL:

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FOREPERSON

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